USCA Case #22-7063           Document #1990821            Filed: 03/20/2023       Page 1 of 1


                United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________


No. 22-7063                                                 September Term, 2022
                                                                       1:13-cv-01215-TSC
                                                   Filed On: March 20, 2023 [1990821]
American Society for Testing and Materials,
et al.,

             Appellants

      v.

Public.Resource.Org, Inc.,

             Appellee

      BEFORE:       Circuit Judges Henderson, Pillard, and Katsas


                  COURTROOM MINUTES OF ORAL ARGUMENT

PROCLAMATION BEING MADE, the Court opened on Monday, March 20, 2023 at
9:31 a.m. The cause was heard as case No. 2 of 2 and argued before the Court by:

     Kelly M. Klaus, counsel for Appellants.
     Corynne McSherry, counsel for Appellee.


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Anne A. Rothenberger
                                                          Deputy Clerk
